Case 1:22-mj-02033-AMD Document 1 Filed 06/08/22 Page 1 of 13 PageID: 1
Case 1:22-mj-02033-AMD Document 1 Filed 06/08/22 Page 2 of 13 PageID: 2
Case 1:22-mj-02033-AMD Document 1 Filed 06/08/22 Page 3 of 13 PageID: 3
Case 1:22-mj-02033-AMD Document 1 Filed 06/08/22 Page 4 of 13 PageID: 4
Case 1:22-mj-02033-AMD Document 1 Filed 06/08/22 Page 5 of 13 PageID: 5
Case 1:22-mj-02033-AMD Document 1 Filed 06/08/22 Page 6 of 13 PageID: 6
Case 1:22-mj-02033-AMD Document 1 Filed 06/08/22 Page 7 of 13 PageID: 7
Case 1:22-mj-02033-AMD Document 1 Filed 06/08/22 Page 8 of 13 PageID: 8
Case 1:22-mj-02033-AMD Document 1 Filed 06/08/22 Page 9 of 13 PageID: 9
Case 1:22-mj-02033-AMD Document 1 Filed 06/08/22 Page 10 of 13 PageID: 10
Case 1:22-mj-02033-AMD Document 1 Filed 06/08/22 Page 11 of 13 PageID: 11
Case 1:22-mj-02033-AMD Document 1 Filed 06/08/22 Page 12 of 13 PageID: 12
Case 1:22-mj-02033-AMD Document 1 Filed 06/08/22 Page 13 of 13 PageID: 13
